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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


ARLETTE C. JACKSON                                      :
                                                        :
         Plaintiff                                      :
                                                        :                 CIVIL ACTION NO.
vs.                                                     :                 3:17-CV-00103-AVC
                                                        :
JAMES WELTY; and YALE UNIVERSITY                        :
                                                        :
         Defendants                                     :                 FEBRUARY 8, 2017



      NOTICE TO SELF-REPRESENTED LITIGANT CONCERNING MOTION TO
                DISMISS (AS REQUIRED BY LOCAL RULE 12(A))

         Pursuant to Local Rule 12(a), the Defendant, Yale University (“Yale”), files and serves

upon the Plaintiff, Arlette C. Jackson, the following notice:

         The purpose of this notice, which is required by the Court, is to notify you that Yale

has filed a motion to dismiss asking the Court to dismiss all or some of your claims without a

trial. Yale argues that there is no need to proceed with these claims because they are subject to

dismissal for the reasons stated in the motion.

         YALE’S MOTION MAY BE GRANTED AND YOUR CLAIMS MAY BE

DISMISSED WITHOUT FURTHER NOTICE IF YOU DO NOT FILE OPPOSITION

PAPERS AS REQUIRED BY RULE 12 OF THE FEDERAL RULES OF CIVIL

PROCEDURE AND IF YALE’S MOTION SHOWS THAT YALE IS ENTITLED TO

DISMISSAL OF ANY OR ALL OF YOUR CLAIMS. COPIES OF RELEVANT RULES



                            DONAHUE, DURHAM & NOONAN, P.C.
                               C ONCEPT P ARK  741 BOSTON POST ROAD
                                    G UILFORD , C ONNECTICUT 06437
                              TEL: (203) 458-9168  FAX: (203) 458-4424
                                           JURIS NO. 415438
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ARE ATTACHED TO THIS NOTICE, AND YOU SHOULD REVIEW THEM VERY

CAREFULLY.

       The papers you file must show that (1) you disagree with Yale’s arguments for

dismissal and, (2) that the allegations of your complaint are sufficient to allow this case to

proceed. If you would like to amend your complaint under Rule 15 of the Federal Rules of

Civil Procedure in order to respond to the alleged deficiencies in your complaint asserted by

Yale, you may promptly file a motion to amend your complaint, but you must attached your

proposed amended complaint to the motion.

       It is very important that you read Yale’s motion and memorandum of law to see if you

agree or disagree with the motion. It is also very important that you review the enclosed

copies of Rule 12 of the Federal Rules and Local Rule 7 carefully. You must file your

opposition papers (and any motion to amend) with the Clerk of the Court and mail a copy to

defense counsel within 21 days of the filing of Yale’s motion with the Clerk of the Court. (If

you e-file under the Court’s Electronic Filing Policies and Procedures, you do not need to

separately mail a copy of your opposition papers to the defendant’s counsel.) If you require

additional time to respond to the motion to dismiss, you must file a motion for extension of

time, providing the Court with good reasons for the extension and with the amount of

additional time you require.

       If you are confined in a Connecticut correctional facility, you must file your opposition

papers and any motion to amend using the Prisoner E-filing Program and are not required to

mail copies to defense counsel.




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       Pursuant to Local Rule 12(a), copies of Fed. R. Civ. P. 12 and Local Rule 7 are

attached hereto.



                                                THE DEFENDANT
                                                YALE UNIVERSITY



                                          BY:         /s/ Patrick M. Noonan
                                                Patrick M. Noonan CT00189
                                                DONAHUE, DURHAM & NOONAN, P.C.
                                                Concept Park
                                                741 Boston Post Road
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                                                E: pnoonan@ddnctlaw.com
                                                Attorney for the Defendant




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                                      CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing Appearance
was filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the court’s CM/ECF System.

Arlette Jackson
1599 Chapel Street
New Haven, CT 06511

Connecticut Commission on Human Rights and Opportunities
450 Columbus Boulevard
Harford, CT 06103

Brooks R. Magratten, Esq.
PIERCE ATWOOD LLP
72 Pine Street, 5th Floor
Providence, RI 02903



                                                                          /s/
                                                      Patrick M. Noonan




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